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                                                           CLERK OF SUPERIOR COURT
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                             Exhibit A
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